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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

THE BANK OF NEW YORK MELLON,                   §
F/K/A THE BANK OF NEW YORK AS                  §
SUCCESSOR     IN  INTEREST    TO               §
JPMORGAN CHASE BANK, N.A., AS                  §
TRUSTEE       FOR      NOVASTAR                §
MORTGAGE       FUNDING     TRUST,              §
SERIES 2003-4, NOVASTAR HOME                   §
EQUITY    LOAN     ASSET-BACKED                §
CERTIFICATES, SERIES 2003-4,                   §
                                               §          Civil Action No.5:22-cv-00609
      Plaintiff,                               §
                                               §
v.                                             §
                                               §
FREDERICK SEEHUSEN and                         §
HEATHER SEEHUSEN,                              §
                                               §
       Defendants.                             §

                         PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff The Bank of New York Mellon, f/k/a The Bank of New York as successor in

interest to JPMorgan Chase Bank, N.A. as Trustee for NovaStar Mortgage Funding Trust, Series

2003-4, NovaStar Home Equity Loan Asset-Backed Certificates, Series 2003-4 (“Plaintiff or

“BNYM”) complaining of Frederick Seehusen and Heather Seehusen files this Original

Complaint and states as follows:

                                       I.     PARTIES

       1.      Plaintiff is a “mortgagee” as is defined in Texas Property Code section 51.001(4)

and is appearing through the undersigned counsel.

       2.      Donald Seehusen and Anneliese Seehusen (“Decedents”) were borrowers under

the below-described loan agreement at issue in this action. Donald Seehusen died on or about

July 3, 2009. Anneliese Seehusen died on or about August 5, 2021. Upon information and belief,


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no probate is open for Decedents’ respective estates in the county where the subject property is

located or the county in which they died. Accordingly, there is no executor or administrator to be

made a party in this proceeding as the personal representative of the Decedents’ respective

estates.

           3.    Pursuant to Texas Estates Code §§ 101.001, 101.051, and 201.001, the heirs at

law of Decedent (“Heir” or, collectively, “Heirs”), whether known or unknown, acquired all of

Decedent’s respective estates, including an undivided interest in the Property, immediately upon

their respective deaths. Each Heir is made a party in this proceeding.

           4.    Defendant Frederick Seehusen is an alleged heir and son of Decedents. Defendant

Frederick Seehusen is a citizen of the state of Texas, and may be served with process at 306

Earlyway Drive, San Antonio, Texas 78233 or at any other place where he may be found.

Summons is requested.

           5.    Defendant Heather Seehusen is an alleged heir and granddaughter of Decedent.

Defendant Heather Seehusen is a citizen of the state of Texas, and may be served with process at

15400 Lookout Road, Apt. 924, Live Oak, Texas 78233 or at any other place where she may be

found. Summons is requested.

                                       II.    PROPERTY

           6.    This proceeding concerns the real property and improvements commonly known

as 310 Earlyway Drive, San Antonio, Texas 78233 and more particularly described as follows:

           LOT THREE (3), BLOCK EIGHT (8), NEW CITY BLOCK 13770,
           MORNINGSIDE PARK SUBDIVISION, CITY OF SAN ANTONIO, IN
           BEXAR COUNTY, TEXAS, ACCORDING TO PLAT THEREOF
           RECORDED IN VOLUME 3850, PAGE 25, DEED AND PLAT RECORDS
           OF BEXAR COUNTY, TEXAS. (The “Property”).




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                     III.    DIVERSITY JURISDICTION AND VENUE

       7.      Defendants are individuals and citizens of Texas.

       8.      BNYM is the trustee of a trust. If a trustee possesses “customary powers to hold,

manage, and dispose of assets,” then it is the real party in interest to a suit. Navarro Sav. Assoc.

v. Lee, 446 U.S. 458, 464 (1980); see U.S. Bank N.A. v. Nesbitt Bellevue Prop. LLC, 859 F.

Supp. 2d 602, 606 (S.D.N.Y. 2012). When a trustee is the real party in interest, its citizenship—

not the citizenship of the beneficiaries of the trust—controls for purposes of diversity

jurisdiction. Navarro, 446 U.S. at 464–66. That is, when the trustee has control of assets for the

benefit of another and has the power to sue or be sued in its own name (and does so), the

trustee’s citizenship is “all that matters for diversity purposes.” Americold Realty Trust v.

ConAgra Foods Inc., 136 S.Ct. 1012, 1016, No. 14-1382, slip op. at 5 (Mar. 7, 2016) (citing

Navarro, 446 U.S. at 462–66). BNYM is a national banking association. A national banking

association is considered a citizen of the state in which it is located. 28 U.S.C. § 1348. Its

location is determined by the state of its main office, as established in the bank’s articles of

association. Wachovia Bank, NA v. Schmidt, 546 U.S. 303, 318 (2006). BNYM is, and at all

times relevant to this action was, a national association bank with its main office located in New

York, New York. Thus, Plaintiff BNYM is a citizen of New York, and no other state, for

purposes of diversity jurisdiction.

       9.      In this suit, Plaintiff seeks a declaratory judgment to foreclose on real property.

Because the property is valued at more than $75,000.00, the minimum amount-in-controversy

requirement has been met. When the object of the litigation is a mortgage lien that entitles its

owner to the full use and enjoyment of the property, the lien may be measured by the appraised

value of the property, the purchase price, or the outstanding principal and interest. Cf. Farkas v.

GMAC Mortg., LLC, 737 F.3d 338, 341 (5th Cir. 2013).

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        10.     When a party seeks declaratory relief, the amount in controversy is measured by

the value of the object of the litigation, and the value of that right is measured by the losses that

will follow. Webb v. Investacorp, Inc., 89 F.3d 252, 256 (5th Cir.1996). Stated differently, the

amount in controversy is “the value of the right to be protected or the extent of the injury to be

prevented.” Hartford Ins. Grp. v. Lou-Con, Inc., 293 F.3d 908, 910 (5th Cir. 2002) (quoting

Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir. 1983)); see also Farkas v. GMAC Mortg.,

LLC, 737 F.3d 338, 341 (5th Cir. 2013).

        11.     Here, the value of the right to be protected is enforcement of mortgage contract

through foreclosure. If Plaintiff were to foreclose on the Property, it would be entitled to either

the full use and possession of it, or the proceeds of a foreclosure sale. But if Plaintiff is unable to

foreclose, it may be entirely divested of any interest in the Property. Thus, rights to the entirety

of the property are in question, and the value of the property controls. And the value of the

Property exceeds $75,000.00. The Bexar County Appraisal District values the Property at

$163,360.00.

        12.     Jurisdiction and venue are properly in this district and division, the United District

Court for the Western District of Texas, San Antonio Division, under 28 U.S.C. § 1391(b)(2)

because the real property that is the subject of this action is situated in this district and division.

                                            IV.     FACTS

        13.     The foregoing paragraphs are incorporated by reference for all purposes.

        14.     On or about October 23, 2003, Decedents executed a Texas Home Equity Note

(Fixed Rate-Fixed Lien) in the principal amount of $49,000.00 (“Note”), originally payable to

Novastar Mortgage, Inc. (“Novastar”) as lender on a loan secured by the Property. A true and

correct copy of the Note is attached hereto as Exhibit A.




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       15.     Concurrently with the execution of the Note, Decedents(“Borrowers”) executed a

Texas Home Equity Security Instrument, (“Security Instrument” and together with the Note,

“Loan Agreement”), as grantors, granting Novastar its successors and assigns, a security interest

in the Property. The Security Instrument was recorded in the official public records of Bexar

County, Texas, as Document No. 20030289991, on November 6, 2003. A true and correct copy

of the Security Instrument is attached hereto as Exhibit B.

       16.     The Security Instrument named Mortgage Electronic Registration Services, Inc

(“MERS”) as the beneficiary, as nominee for Novastar Mortgage, Inc. Subsequently, MERS, as

nominee for Novastar, transferred and assigned the Loan Agreement to BNYM. The Assignment

of Deed of Trust was recorded in the official public records of Bexar County, Texas, under

Instrument No. 20210085440 on April 1, 2021. A true and correct copy of the Assignment is

attached hereto as Exhibit C.

       17.     Plaintiff is the current owner and holder of the Note and beneficiary of the

Security Instrument.

       18.     Decedent Donald Seehusen died on or about July 3, 2009. Decedent Anneliese

Seehusen died on or about August 5, 2021. Upon information and belief, no probate was ever

opened for Decedents. In accordance with Texas Estates Code §§ 101.001(b) and 101.051, their

heirs acquired all of their interest in the Property immediately upon their death, subject to the

Loan Agreement debt owed to Plaintiff.

       19.     Under the terms of the Loan Agreement, the Borrowers were required to pay

when due the principal and interest on the debt evidenced by the Note, as well as any applicable

charges and fees due under the Note.

       20.     The Loan Agreement further provides that should Borrowers fail to make

payments on the Note as they became due and payable, or fail to comply with any or all of the

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covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the Loan Agreement.

       21.      The Loan Agreement is currently due for the July 1, 2021, payment and all

subsequent monthly payments. On February 22, 2022, Notices of Default were sent via certified

mail to the Borrowers, in accordance with the Loan Agreement and the Texas Property Code..

True and correct copies of the Notices of Default are attached hereto as Exhibit D.

       22.      The default has not been not cured, and the maturity of the debt is hereby

accelerated.

       23.      Plaintiff brings this suit for declaratory judgment and foreclosure so it may

enforce its security interest in the Property.

                                      V. CAUSES OF ACTION

       A. DECLARATORY JUDGMENT

       24.      The foregoing paragraphs are incorporated by reference for all purposes.

       25.      Plaintiff requests a declaration from this Court that it is the owner and holder of

the Note and beneficiary of the Security Instrument. Plaintiff requests a further declaration from

this Court that, as owner and holder of the Note and beneficiary of the Security Instrument,

Plaintiff is a mortgagee as that term is defined under Texas Property Code section 51.0001(4),

and is authorized to enforce the power of sale in the Security Instrument through foreclosure of

the Property.




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       B. ENFORCEMENT OF STATUTORY PROBATE LIEN

       26.     The foregoing paragraphs are incorporated by reference for all purposes.

       27.     Plaintiff seeks a declaration from this Court that Plaintiff has a statutory probate

lien against the Property under the terms of the Loan Agreement and the following statutory

authority:

                   a. TEX. ESTATES CODE §§ 101.001(b) and 101.051(b)(1),
                      which state in pertinent part:

                       “the estate of a person who dies intestate vests
                       immediately in the person's heirs at law, subject to
                       the payment of, and is still liable for: the debts of the
                       decedent, except as exempted by law”

                   b. TEXAS TITLE EXAMINATION STANDARDS § 11.10,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes;” and

                   c. TEXAS TITLE EXAMINATION STANDARDS § 11.60,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes . . . Property of a decedent passes subject to
                       unpaid debts and taxes of the estate.”

       28.     Through Plaintiff’s statutory probate lien, reserved in Texas Estates Code

§§ 101.001 and 101.151, Plaintiff has an enforceable and superior lien against the Heirs’ interest

in the Property. Because of a material breach of the Loan Agreement, Plaintiff seeks to enforce

its statutory probate lien in the Property through foreclosure.




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       C. NON-JUDICIAL FORECLOSURE

       29.     The foregoing paragraphs are incorporated by reference for all purposes.

       30.     Because of a material breach of the Loan Agreement, Plaintiff seeks an order

from this Court to enforce its statutory probate lien through non-judicial foreclosure pursuant to

the terms of the Loan Agreement and Texas Property Code § 51.002, with respect to Defendants

who acquired the Property subject to Decedents’ debts.

       D. PUBLIC AUCTION

       31.     The foregoing paragraphs are incorporated by reference for all purposes.

       32.     Because of the material breach of the Loan Agreement, a public auction of the

Property in conjunction with all other regularly scheduled non-judicial foreclosure sales on the

first Tuesday of the month would provide the most practical, efficient, and effective means to

enforce Plaintiff’s security interest in the Property. Because the rights, responsibilities and duties

of Plaintiff and the trustee are well known under Texas Property Code § 51.002 and Texas case

law, a public auction conducted in the same manner as a non-judicial foreclosure sale would

meet all constitutional standards of due process. Because no personal liability is sought against

the Defendants, a public auction of the Property would be the most expedient means to put the

Property back into the stream of commerce and the housing stock of the community. Otherwise,

the Property will continue to be a wasting asset that is subject to vandalism and deterioration.

       E. JUDICIAL FORECLOSURE

       33.     The foregoing paragraphs are incorporated by reference for all purposes.

       34.     In the alternative, for failure to cure the default of the Loan Agreement, Plaintiff

seeks to enforce its security interest against the Property in an amount equal to the payoff at the

time of judgment.




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        35.     As the current legal owner and holder of the Note and the mortgagee of record

who has the right to enforce the Note and Security Instrument, Plaintiff seeks a judgment for

judicial foreclosure together with an order of sale issued to the sheriff or constable of Bexar

County—the county where the Property is located—directing the sheriff or constable to seize

and sell the Property in satisfaction of the Loan Agreement debt.

        F. TRESPASS TO TRY TITLE

        36.     The foregoing paragraphs are incorporated by reference for all purposes.

        37.     Concurrent with Plaintiff acquiring all of Defendants’ right, title, and interest in

the Property—by enforcement of Plaintiff’s statutory probate lien by non-judicial foreclosure

under Security Instrument’s power-of-sale provision and the Texas Property Code or,

alternatively, by judicial foreclosure. Plaintiff seeks a declaration and judgment that the

Defendants are divested of all of their right, title and interest in the Property and that all of

Defendants’ right, title, and interest in the Property are vested in Plaintiff.

        G. WRIT OF POSSESSION

        38.     The foregoing paragraphs are incorporated by reference for all purposes.

        39.     If any person occupies or claims possession of the Property (an “Occupant”) after

transfer of all right, title, and interest in the Property in favor of Plaintiff, then Plaintiff requests a

writ of possession against any Occupant.

        H. ATTORNEYS FEES

        40.     Because of the material breach of the Loan Agreement, Plaintiff is entitled to

recover reasonable and necessary attorneys’ fees under the loan documents, and Texas Civil

Practice and Remedies Code §38.001. Attorneys’ fees are not sought as a personal judgment

against the Defendants but only as an additional debt secured by the Security Instrument.




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                                             VI. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be cited

to appear and answer, and the Court enter judgment granting:

       a. A declaration that Plaintiff is the owner and holder of the Note and beneficiary of the
          Security Instrument and that Plaintiff is a mortgagee as that term is defined under
          Texas Property Code section 51.0001(4), and is authorized to enforce the power of
          sale in the Security Instrument through foreclosure of the Property;

       b. A declaration that Plaintiff’s statutory probate lien against the Property shall be
          enforced by a non-judicial foreclosure at public auction—or alternatively, a judgment
          for judicial foreclosure—and that through the foreclosure or auction the Defendants
          are divested, and the purchaser at foreclosure sale is vested, of all of Decedents’ right,
          title, and interest to the Property;

       c. A writ of possession against any Occupant of the Property if the Occupant fails or
          refuses to leave the Property after foreclosure or auction;

       d. Attorney fees and costs of suit; and

       e. All other relief, in law and in equity, to which Plaintiff is entitled.


                                                        Respectfully submitted,

                                                  By: /s/ Nicholas M. Frame
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